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                             UNITED STATES DISTRICT COURT.
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JEFFREY FRANZ, et al.,

       Plaintiffs,
                                                              Hon. Mark A. Goldsmith
v.                                                            No. 2:21-cv-12871

OXFORD COMMUNITY SCHOOL
DISTRICT, et al.,


       Defendants.
__________________________________________________________________________
                     NOTICE OF APPEARANCE BY INTERESTED PARTY

       PLEASE TAKE NOTICE that attorney Michael L. Pitt of Pitt McGehee Palmer Bonanni

& Rivers, PC files this notice of appearance as an interested party in this case.

                                              Respectfully submitted,

                                              By: /s/ Michael L. Pitt
                                              Michael L. Pitt (P24429)
                                              Pitt McGehee Palmer Bonanni & Rivers, PC
                                              117 W. Fourth Street, Suite 200
                                              Royal Oak, MI 48067
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Dated: April 5, 2022.
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                            CERTIFICATE OF SERVICE

           The undersigned certifies that the foregoing instrument was filed with the
           U.S. District Court through the ECF filing system and that all parties to the
           above cause was served via the ECF filing system on April 5, 2022.

                               Signature: /s/ Regina Bell
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